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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 24-20168-CR-ALTONAGA

  UNITED STATES OF AMERICA,

         Plaintiff,
  vs.

  JOSEPH JULES PLANCHER,

        Defendant.
  _______________________________/

                                               ORDER

         THIS CAUSE came before the Court on January 15, 2025 and January 16, 2025 for Jury

  Trial. On January 16, 2025, the Court declared a mistrial and scheduled a new trial for the trial

  period beginning February 24, 2025. (See [ECF No. 114]). Pursuant to § 220.30(a) of the Guide

  to Judiciary Policy, Vol. 7 Defender Services, it is

         ORDERED AND ADJUDGED that Simon Patrick Dray is reappointed to represent

  Defendant, Joseph Jules Plancher in this matter.

         DONE AND ORDERED in Miami, Florida, this 17th day of January, 2025.



                                                  _______________________________________
                                                  CECILIA M. ALTONAGA
                                                  CHIEF UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
